




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-03-00122-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




JIMMY DEAN HODGES,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant has filed a motion to dismiss this appeal.  The motion is signed by Appellant and
his counsel.  No decision having been delivered by this Court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered June 25, 2003.

Panel consisted of Worthen, C.J. and Griffith, J.






(DO NOT PUBLISH)


